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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
                           NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                   §           MDL NO. 1873
FORMALDEHYDE                          §
PRODUCT LIABILITY LITIGATION          §           SECTION “N-5”
                                      §           JUDGE ENGELHARDT
THIS DOCUMENT IS RELATED TO:          §
Gregory Albert, et al v.              §
Fleetwood Enterprises, Inc., et al    §           MAG. JUDGE CHASEZ
Civil Action No. 09-7068              §

        ORDER ON PLAINTIFFS’, GRACE CARROLL AND JEANA CARROLL,
         NOTICE OF VOLUNTARY DISMISSAL UNDER FRCP 41(a)(1)(A)(i)

      Considering the foregoing motion,

      IT IS HEREBY ORDERED that Plaintiffs GRACE CARROLL and JEANA

CARROLL Notice of Voluntary Dismissal is hereby, and in all things GRANTED.

      New Orleans, Louisiana, this ____ day of ____________________, 2010.




                                      _____________________________
                                      HONORABLE KURT ENGELHARDT
